Filed 8/22/24 Executive Dynamics Search v. Lawrence CA4/1
                 NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.


                 COURT OF APPEAL, FOURTH APPELLATE DISTRICT

                                                 DIVISION ONE

                                         STATE OF CALIFORNIA



 EXECUTIVE DYNAMICS SEARCH,                                           D081732
 INC., et al.,

      Plaintiffs, Cross-defendants and
 Respondents,                                                         (Super. Ct. No. 37-2019-
                                                                      00048004-CU-BC-NC)
           v.

 MILES LAWRENCE, as Successor
 Trustee, etc., et al.,                                               ORDER MODIFYING OPINION
                                                                      AND DENYING REHEARING
      Defendants, Cross-complainants
 and Appellants.                                                      NO CHANGE IN JUDGMENT


THE COURT:
         It is ordered that the opinion filed on July 25, 2024 be modified as
follows:
1.       On page 43, in the first full paragraph, the third sentence that begins
         with “Defendants have not challenged,” is modified so that the sentence
         reads:

                Defendants have not challenged the trial court’s decision to grant
                plaintiffs rescission of the guaranty of lease.
2.    On page 43, in the first full paragraph, the fourth sentence that begins
      with “Further, the trial court’s decision,” is deleted. It is replaced with
      the following sentence and citations:

         Defendants’ failure to argue in their appellate briefs that this
         decision was erroneous forfeits the issue. (See Tiernan v. Trustees of
         Cal. State University &amp; Colleges (1982) 33 Cal.3d 211, 216, fn. 4
         [issue not raised on appeal deemed waived]; Eck v. City of Los
         Angeles (2019) 41 Cal.App.5th 141, 146 [same].)


      There is no change in the judgment.
      The petition for rehearing filed August 1, 2024 is denied.




                                                             McCONNELL, P. J.

Copies to: All parties




                                        2
Filed 7/25/24 Executive Dynamics Search v. Lawrence CA4/1 (unmodified opinion)
                 NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.


                COURT OF APPEAL, FOURTH APPELLATE DISTRICT

                                                 DIVISION ONE

                                         STATE OF CALIFORNIA



 EXECUTIVE DYNAMICS SEARCH,                                         D081732
 INC., et al.,

      Plaintiffs, Cross-defendants and
 Respondents,                                                       (Super. Ct. No. 37-2019-
                                                                    00048004-CU-BC-NC)
           v.

 MILES LAWRENCE, as Successor
 Trustee, etc., et al.,

      Defendants, Cross-complainants
 and Appellants.


         APPEAL from a judgment of the Superior Court of San Diego County,
Kevin A. Enright, Judge. Reversed in part and remanded with directions.
         Procopio, Cory, Hargreaves &amp; Savitch, Kendra J. Hall, and Megan E.
Dawson for Defendants, Cross-complainants and Appellants.
         Pennington Law Firm and Walt Pennington for Plaintiffs, Cross-
defendants and Respondents.
                                               INTRODUCTION
         This appeal comes before us following a bench trial in which the
essential dispute surrounded the cause of congestion and rashes experienced
by workers in an office suite. Executive Dynamics Search, Inc. (EDS), an

executive recruitment agency, leased the suite from defendants/appellants.1
The lease was guaranteed by the owners of EDS, Richard C. Leon (Leon) and
Ann W. Leon (collectively, plaintiffs).
      Six months into EDS’s occupancy of the suite, Leon and EDS staff
members experienced symptoms that included congestion and rashes that
seemed to be alleviated upon leaving the office. Plaintiffs reported the
symptoms to the building’s property manager but quickly became dissatisfied
with defendants’ response. Plaintiffs gave notice of rescission, vacated the
suite and filed this lawsuit, asserting causes of action for rescission and
negligence (among others). Defendants cross-claimed for breach of the lease
and guaranty of lease.
      At a bench trial, plaintiffs’ only medical expert on causation opined the
cause of the reported symptoms was “something in that environment.” The
trial court found in favor of plaintiffs on the claims for negligence and
rescission of the lease and guaranty of lease, granted rescission, and awarded
Leon personal injury damages for defendants’ negligence. In doing so, it
found an “unknown contaminant” caused the reported symptoms. Having
rescinded the lease and guaranty of lease, it dismissed defendants’ cross-
complaint as moot.
      Defendants raise a number of challenges to the resulting judgment,
including that the trial court’s causation finding is not supported by


1     Defendants/appellants are Miles Lawrence, as successor trustee of the
Lawrence 1989 Residual Trust dated 10/16/1989; Gregory Eden, as successor
trustee of the Matthew Daley Irrevocable Trust; Gregory Eden, as successor
trustee of the Andrew Daley Irrevocable Trust; Gregory Eden, as successor
trustee of the Michael Daley Irrevocable Trust; and IPW/REIMS Corporation
dba Eagle Industries (IPW/REIMS).

                                          2
substantial evidence. We agree and conclude the insufficient evidence of
causation requires reversal of the trial court’s finding of liability on
negligence as well as its decision to grant plaintiffs rescission of the lease,
and its associated determination that defendants’ cross-claims based on
breach of lease were moot. We reverse the judgment in part with directions
and remand for further proceedings on defendants’ cross-claims for breach of
lease.
                 FACTUAL AND PROCEDURAL BACKGROUND
                                         I.
                           EDS’s Occupancy of the Suite

         Defendants are the owners of a multi-unit office building2 in Encinitas.
In 2018, EDS leased a 1,336-square-foot office suite in the building. The
lease, guaranteed by the Leons, was for a three-year term commencing
February 1, 2019 and ending January 31, 2022. EDS took possession no later
than the beginning of February 2019.
         Paragraph 1.13 of the lease stated defendants were not obligated to
provide janitorial services within the suite. EDS did not use an outside
cleaning service. Instead, Leon or EDS staff members would “chip in” with
the cleaning.
         Between February and June 2019, Danelle De Valk (Leon’s executive
assistant) contacted Tanya Mauzy, the building’s property manager, about
“minor” issues. But on July 9, De Valk emailed Mauzy to report there was




2     Defendants state without record citation that their office building has
10 units. Although we did not find evidence to support this precise claim,
testimony established there were “about a dozen” HVAC units on the
building’s roof. From this, we infer there were multiple units.

                                         3
“something either in the air or in the carpets” that was “causing itching and
full-blown rashes” to EDS personnel “only . . . when [they’re] in the office.”
      Having never “seen anything like this” in her 15 years of commercial
property management, Mauzy suggested EDS consider whether it had

changed cleaning products.3 She also arranged to have ServPro, a
remediation contractor, conduct air particle testing in EDS’s suite. EDS,
however, unilaterally cancelled the ServPro inspection and hired a different
contractor to test the EDS suite for mold. The results of the mold test were
negative. On July 10, 2019, De Valk reported to Mauzy that EDS’s mold
contractor found no mold but did find the vents in the EDS suite to be
“incredibly dirty.” She asked Mauzy to arrange for the air ducts to the suite’s
HVAC unit be cleaned.
      In response, Mauzy reached out to a company that was contracted to
provide the building’s HVAC units (including the unit associated with EDS’s
suite) with regular maintenance, including quarterly air filter changes. She
confirmed the company’s servicing of the units had not been interrupted. She
then obtained a proposal from J&amp;M Keystone, a company that provided
HVAC cleaning services, to clean the EDS suite’s air ducts. On July 16, 2019,
she emailed the proposal to defendants and asked them to approve the cost.
They declined because they wanted more information about the possible
causes of the symptoms “before spending money looking for answers.”
      That evening, Mauzy emailed Leon. Her email stated, “I have received
a reply from the owners and they are declining to cover the cost of the service
–stating that it appears to them to be a possible allergic reaction, that dust


3     According to the trial testimony, EDS determined it had not changed
cleaning products, although the record does not reflect that this information
was communicated to Mauzy.

                                        4
and dirt would not cause that. They are stating that they would require more
proof in the form of multiple dermatologists’ opinions. The Landlord has
suggested that the person with the skin irritation invest in a portable HEPA
air cleaner. Their final directive was that all costs to be absorbed by the
tenant, they do not approve at this time.”
      This email elicited a host of responses from Leon. Less than an hour
after Mauzy sent her email, Leon responded to her with text messages that
used profane language and threatened a legal “fight.” The next morning,
Leon emailed Mauzy, stating, “I will be meeting with my attorney this
morning and the City of Encinitas to report multiple dose violations at this
building. . . . You and the owners are in material breach of contract and we
are canceling our lease immediately.” On the afternoon of July 18, 2019,
Leon emailed Mauzy a list of steps he intended to take, including
complaining to government authorities and meeting with his attorney “to
discuss pending litigation,” unless his demand “to clean” was met by close of
business that day. That evening, he emailed Mauzy: “OK Time is Up. [¶]
Everything I promised is Now going to happen. Kinda feel sorry for you
NOT! [¶] We are going to start with A $1 Million damages suit. See you in
Court Sweethearts!” At this point, Mauzy stepped back because she felt the
situation had become “legal.”
      On July 25, 2019, Leon contacted the San Diego Air Pollution Control
District (District) and complained there was asbestos in the EDS suite. A
District investigator inspected the suite on July 29. He noticed a musty odor
as well as dust on desk surfaces that was “more noticeable than . . .
background dust,” meaning “dust that’s normal to everyday activity, windows
were open and things like that.” But he detected no asbestos, no airborne
contaminants, and no visual emissions, and he was unable to pinpoint the


                                       5
location, if any, of the odor. He recommended the District take no further
action on Leon’s complaint.
      On July 31, 2019, Leon complained to the Division of Occupational
Safety and Health (Cal/OSHA), which dispatched an investigator to test the
EDS suite for fiberglass. This investigator determined the airborne fiber
concentration in the suite was well below the acceptable limit, and he
observed no debris, dust, residue, or dirt in the suite. He later recalled that
after exiting the suite, he “felt a little bit of an itchy sensation” in an area of
exposed skin on his neck.
      After mid-July 2019, EDS personnel did not return to the office suite
except to retrieve files. Leon entered the office only to meet investigators and
move items out of the office. In August, De Valk observed a “decent layer of
either dust or dirt” covering her desk; and Leon saw visible “rusty, black
dust” on the carpet and desks that he had not seen in June.
      Despite Leon’s earlier written cancellation of the lease, EDS paid rent
in August. However, on August 12, Leon’s lawyer sent a “Notification of
Rescission and Termination of Lease and Guaranty” to Mauzy.
      Leon’s lawyer then had three retained consultants examine the suite.
On August 22, 2019, Colin Young, an industrial hygienist, inspected the suite
but found no particulates, odors, chemicals, or stains “of any remarkability.”
On August 29, Paul McGowan, a consultant with expertise in HVAC systems,
inspected the HVAC unit to the EDS suite and found it to be inadequately
maintained. He detected an “abnormal” smell on the roof and in the office
and experienced trouble breathing. However, he did not have an opinion
whether the HVAC unit was adequately filtering outside air. On
September 4, Alan Wilson, a mechanical engineer consultant, inspected the
HVAC unit and found it to be very poorly maintained (he rated it a “two” on a


                                         6
scale of one to 10, with 10 being the best). He found its air filter to be ill-
fitting, and opined there was “more dust in this system than there should be
because of the poor maintenance.” But he did not detect abnormal smells or
air quality issues in the suite. In his opinion, an industrial hygienist would
be the appropriate expert to investigate and reach opinions regarding air
quality inside the suite.
         On September 6, 2019, Leon asked Young to conduct a second
inspection of the suite so he could attend and meet with Young in person. At
the end of this inspection, Young again concluded “there still [was not] a
substantiated basis for an impaired environment that either exists or did
exist in [the suite].” That same day, the Leons and EDS filed their lawsuit
against defendants.
                                         II.
                                 Plaintiffs’ Lawsuit
         In their operative first amended complaint, plaintiffs asserted four
causes of action: (1) rescission of the lease and guaranty of lease; (2) breach
of lease; (3) negligence; and (4) negligent misrepresentation. In their causes
of action for rescission and for breach of lease, they alleged the “failure of the
HVAC and ventilation system” had made continued use of the premises
unsafe, forcing EDS to close its business at the premises on July 14, 2019.
Their third cause of action for negligence was based on allegations the
“ongoing failure of the HVAC and ventilation system” was the proximate
cause of physical injury to Leon. In their fourth cause of action, they alleged
defendants had induced them to enter the lease by misrepresenting the
HVAC system to be in good operating condition.
         Defendants cross-complained for breach of the lease and guaranty of
lease.


                                          7
                                       III.
                                 Trial Evidence
      Defendants moved for judgment on the pleadings, arguing all of
plaintiffs’ causes of action were barred by a lease provision limiting their

liability.4 The trial court granted the motion as to the breach of lease claim
only. An 11-day bench trial was then held on all remaining claims and cross-
claims.
A.    Testimony of Leon and EDS Personnel
      Plaintiffs’ trial presentation included testimony from Leon, De Valk,
and two former EDS employees. One former EDS employee recalled a time
when she was in the office in July 2019 and her lungs felt “heavy,” like “there
was a big fire in the area or there’s bad smog, that sort of feeling.” After she
left the office, the feeling dissipated. A second former employee who suffered
from “spring” allergies noticed in July 2019 that after about an hour or two in
the office, she would start to get congested; the congestion was “a little bit
different” from when she got allergies. Her symptoms would go away after
she got home. De Valk testified that while in the office in early July 2019,
she felt congestion and developed rashes on her chest, arms, and stomach.




4      The relevant provision was paragraph 8.8 of the lease, which provided,
“Notwithstanding the negligence or breach of th[e] Lease by Lessor or its
agents,” the lessor was exempt from liability for certain types of injury or
damage, including damages from “indoor air quality” or “HVAC . . . fixtures,”
“conditions arising upon the Premises or upon other portions of the building
or from other sources or places,” and “injury to Lessee’s business or for any
loss of income or profit therefrom.” Paragraph 8.8 stated, “[I]t is intended
that Lessee’s sole recourse in the event of such damages or injury [shall] be to
file a claim on the insurance policy(ies) that Lessee is required to maintain
pursuant to the provisions of paragraph 8.”

                                        8
These symptoms would gradually go away within a few hours after she left
the office. She stopped going to the office on July 9 or 10.
      Leon testified that after De Valk’s symptoms appeared, he began to
experience chest congestion and rashes that were different from De Valk’s.
His symptoms were worse when he was in the office, although they persisted.
He “experienced them . . . all night long.” Although he stopped working at
the office in mid-July 2019, by late July his symptoms had not improved and
instead “were becoming more serious.” His congestion lasted into early

December and improved only following treatment by an acupressurist.5
B.    Plaintiffs’ Medical Witnesses
      Although Leon testified he saw “multiple” doctors for his symptoms,
only two testified at trial⎯Scott Mercer, M.D., and Warren Pleskow, M.D.
      Dr. Mercer was Leon’s primary care physician. He saw Leon on
August 5 and 21, 2019. Leon told Mercer he had been exposed to an
“antigen” and complained of chest congestion, breathing difficulties, and
rashes. Mercer performed a lung auscultation but detected no wheezing or
congestion. He conducted a complete physical exam as well as an oxygen
saturation test. Leon’s oxygen saturation was 98 percent, which Mercer
testified was “very, very, very good.” Mercer observed rashes on August 21;
however, the rashes were “fine,” as opposed to “blistery.” Mercer did not form
an opinion with respect to their cause, nor did he form an opinion as to
whether there was an air contaminant in Leon’s office.




5     EDS also presented testimony from the District investigator and
Cal/OSHA investigator who inspected the suite, as well as McGowan and
Wilson, all of whom testified consistently with the facts we summarized in
Section I, ante.

                                        9
      Dr. Pleskow is an allergist and immunologist who saw Leon two years
after the events, in April 2021. Leon gave Pleskow an oral history in which
he said, first, that in July 2019 “an industrial hygienist had come to inspect
his . . . office, and a contaminated and leaking HVAC was found.” Second,
Leon reported pain and pressure in his chest, “blistering of the skin, which
continued until September or October of 2019, and congestion in his chest
and sinuses, which lasted until December of 2019.” Leon said his symptoms
improved when he was away from the office. Pleskow did not review any of
Leon’s prior medical records. However, he tested Leon and determined he

was allergic to cats and dust mites.6 Based on this finding and on the oral
history Leon provided, Pleskow testified it was his “opinion” Leon had a
reaction to dust mites in the office in July 2019, though he conceded on cross-
examination that he had formed only “a suspicion” that dust mites were the
problem. In his view, however, there was not “a big difference” between an
opinion and a suspicion. Pleskow also agreed the symptoms Leon voiced to
him “could have a number of causes,” including “causes or possible causes . . .
that would not be allergic in nature.” And when asked to provide his opinion
on the cause of Leon’s symptoms to a reasonable degree of medical
probability, Pleskow stated his opinion was merely that Leon “was sick from
exposure to something in that environment.”




6      De Valk also saw Dr. Pleskow in 2021. She told him she “worked in an
office building which had mold and mite contamination” and had suffered
rashes and nasal congestion for a two-week period in July 2019. Her skin
test showed she was allergic to pollens, grasses, trees, and highly allergic to
dust mites, but was negative for mold. Based on these results, Pleskow made
“the reasonable assumption that she was having symptoms in 2019 related to
her exposure in this environment.”

                                      10
C.    Defendants’ Case
      Young, the consultant who examined the EDS suite in August and
September 2019, was called by defendants and was the only industrial
hygienist to testify at trial. He testified that during his initial inspection of
the suite he found nothing “remotely indicative” of an unsafe environment.
After inspecting it a second time, he still found no substantiated basis for
finding “an impaired environment that either exists or did exist in that
location.” He was aware Wilson (the mechanical engineer consultant who
inspected the HVAC unit on September 4, 2019 at EDS’s request) found it to
be in a deteriorated condition. Young testified, however, that it was common
to see HVAC ducts with dust and dirt, and “an impaired mechanical unit is
not an implication of an impaired indoor air quality space.”
      In addition to Young, defendants presented testimony from other
expert and percipient witnesses, including Mauzy, Gregory Eden (one of the
trustee lessors), and retained medical and HVAC experts. Michael J. Welch,
M.D., defendants’ retained allergist and immunologist, testified “the problem
that was experienced here was not a medical problem consistent with any
allergic mechanism” and “dust mite allergy would not be adequate in
explaining the clinical picture . . . that has been described.” He also testified
there is a difference between dust and dust mites, and that dust mites are
generally found in the home, not in an office setting.
                                        IV.
                              Statement of Decision
      At the close of evidence, defendants filed a motion for nonsuit in which
they argued, in part, that plaintiffs had failed to present sufficient evidence
of causation to support their claims. The trial court issued a decision and
order construing defendants’ motion for nonsuit as a motion for judgment


                                        11
(Code Civ. Proc.,7 § 631.8). It granted the motion as to plaintiffs’ negligent
misrepresentation claim, but ruled in favor of them and against defendants
on the claims for rescission and negligence as well as on defendants’ cross-
claims. Defendants then filed a request for statement of decision. Plaintiffs’
counsel prepared a proposed statement of decision, which was adopted by the

trial court with few changes.8
      The statement of decision began with a lengthy factual background
section. Although the factual background section quoted and summarized
the testimony of most trial witnesses, it did not address or summarize
Young’s trial testimony. Next, under a heading titled “Witness Credibility,”
the trial court found “[p]laintiffs’ witnesses to be credible regarding their
complaints of symptoms they experienced beginning in July 2019.” It then
stated: “The Court finds that it was more likely than not some type of
contaminant within the leased premises caused their symptoms to occur.
While [p]laintiffs have not shown what specific contaminant was present,
such does not preclude a finding that the unknown contaminant caused the
symptoms about which the complainants testified.” It found the HVAC unit
was not clean in July and August 2019 and had been poorly maintained, and



7     Undesignated statutory references are to the Code of Civil Procedure.

8     We make note of the following change: the proposed statement of
decision provided, “There are two bases to hold [d]efendants liable for their
negligence: res ipsa loquitur and premises liability.” It presented case
authority and discussion pertaining to both grounds for liability. The trial
court modified this section of the proposed statement of decision by deleting
the references to res ipsa loquitur. Thus, in its final statement of decision,
the court expressly relied only on a premises liability theory, and not on the
doctrine of res ipsa loquitur, in ruling that defendants were liable for
negligence.

                                       12
that a significant amount of dust had accumulated on desktops and exposed
carpet in the summer of 2019. It concluded: “Accordingly, the [c]ourt finds
that [p]laintiffs have met their burden of proof that more likely than not the
source of the contamination of the leased premises was the HVAC unit
servicing the suite.”
      Specifically as to the negligence claim, the trial court found “the
symptoms of illness experienced” by EDS personnel “were more likely than
not caused by a contaminant present within the leased premises due to the
poor maintenance of the HVAC unit servicing the premises.” It concluded
plaintiffs had met their burden of establishing all elements of negligence,
including that “Leon was harmed, and that [d]efendants’ negligence was a
substantial factor in causing [p]laintiffs’ harm.” Although the court expressly
acknowledged the operative complaint did not allege premises liability, it
appeared to analogize the negligence claim to one of premises liability. It
awarded Leon $50,000 in general damages for his pain and suffering from
mid-July through December 2019.
      Turning to the rescission claim, the trial court observed the lease
included the implied covenant of quiet enjoyment (Civ. Code, § 1927) as well
as a clause expressly providing for quiet possession. It stated that for EDS,
quiet enjoyment was the ability to use its office suite as a “General Office.” It
observed that plaintiffs’ witnesses “testified that the onset of symptoms was
within one-half hour of exposure.” It found defendants “failed to comply with
their contractual duties” and “failed to provide their consideration, usable
office space” when they “told EDS that [they] would not clean the ducts and
would take no further action until [d]efendants provided medical proof that
the office was the cause of their health problems.”




                                       13
      The trial court granted rescission of the lease and guaranty of lease. As
a remedy for rescission, it awarded EDS $339,824 in damages, representing
its lost profits for the 10-month period beginning July 2019 and ending April
2020. It offset this award by $3,468.60, representing 41 days’ rent, to reflect
that plaintiffs gave only 19 days’ notice of rescission rather than 60 days as
required by the lease. The total damages awarded to EDS was $336,355.40.
Having rescinded the lease, the court found defendants’ contract claims in the
cross-complaint were moot.
                                       V.
                             Post-trial Proceedings
      Following contested motions for attorney fees, on November 8, 2022,
the trial court determined plaintiffs were the prevailing parties and awarded
them $781,264 in attorney fees pursuant to Civil Code section 1717; it also
denied defendants’ motion to tax costs.
      On December 14, 2022, the trial court entered judgment for plaintiffs
and against defendants in the total amount of $1,278,562.09 (inclusive of
awards of $336,355.40 to EDS; $50,000 to Leon; and $781,264 in plaintiffs’
attorney fees plus $110,942.69 in costs). Notice of entry of judgment was
served January 9, 2023. Defendants brought a motion for judgment
notwithstanding the verdict (JNOV) and motion for new trial, which the court
denied.
                                DISCUSSION
                                       I.
                   Defendants’ Notice of Appeal Was Timely
      We first address the timeliness of defendants’ notice of appeal. On
April 3, 2023, plaintiffs moved to dismiss defendants’ appeal on the ground
the notice of appeal, which was filed on February 27, 2023, was untimely. On


                                       14
April 21, we issued an order summarily denying the opposed motion.
Plaintiffs, undeterred, have asserted in their respondents’ brief on the merits
several arguments challenging the timeliness of the notice of appeal.
Although they claim to be relying on new arguments, they also reassert their
previous points. None alter our conclusion that defendants’ notice of appeal
was timely filed. Although we are not required to revisit positions we have
already considered and properly rejected, we will explain our reasons for
disagreeing with plaintiffs’ previous arguments as well as discuss why their
new ones lack merit.
A.    Our Denial of Plaintiffs’ Motion to Dismiss Was Proper
      After issuing its statement of decision and awarding plaintiffs their
costs and attorney fees, the trial court entered judgment on December 14,
2022. A deputy clerk of the superior court served the parties with a file-

stamped copy of the judgment by mail on December 15.9 Defendants served
their notice of motion for new trial and notice of JNOV motion on January 3,
2023. Plaintiffs filed and served a notice of entry of judgment on January 9.
The trial court denied defendants’ new trial and JNOV motions on February
16. Defendants then filed their notice of appeal on February 27.
      The issue raised in plaintiffs’ motion to dismiss was whether
defendants’ January 3 notices of posttrial motions were timely. Under
section 659, a party must file and serve a notice of intention to move for new
trial “[w]ithin 15 days of the date of mailing notice of entry of judgment by the
clerk of the court pursuant to [s]ection 664.5, or service upon him or her by
any party of written notice of entry of judgment, or within 180 days after the



9     Although plaintiffs contend the clerk sent the notice on December 14,
the proof of service shows it was actually served on December 15.

                                       15
entry of judgment, whichever is earliest[.]” (Id., subd. (a)(2), italics added.)
These deadlines also apply to JNOV motions. (See § 629, subd. (b) [“A motion
for judgment notwithstanding the verdict shall be made within the period
specified by [s]ection 659 for the filing and service of a notice of intention to
move for a new trial.”].)
      The issue was potentially jurisdictional because only a timely notice of
posttrial motion tolls the deadline for filing a notice of appeal. (See Cal.
Rules of Court, rule 8.108(b), (d) [notice of appeal deadline extended if any
party serves and files “valid” notice of intention to move for new trial or
motion JNOV]; Ramirez v. Moran (1988) 201 Cal.App.3d 431, 437 [untimely
posttrial motion not “valid” and does not extend appeal deadline].) According
to plaintiffs, the extension mattered because without it, defendants had only
60 days from the clerk’s December 15, 2022 service of the file-stamped
judgment—until February 13, 2023—to file their notice of appeal, yet their
notice of appeal was not filed until February 27, 2023. (See Cal. Rules of
Court, rule 8.104(a)(1)(A) [“Unless a statute or rules 8.108, 8.702, or 8.712
provides otherwise, a notice of appeal must be filed on or before the earliest
of: [¶] (A) 60 days after the superior court clerk serves on the party filing the
notice of appeal a document entitled ‘Notice of Entry’ of judgment or a filed-
endorsed copy of the judgment, showing the date either was served[.]”].)
Plaintiffs conceded, however, that if defendants’ notices of posttrial motions

were timely, then their notice of appeal was also timely.10


10     A timely served and filed notice of new trial motion or JNOV motion
triggers three possible extensions of the deadline for filing a notice of appeal.
First, if such motions are expressly denied, a 30-day extension of the notice of
appeal deadline runs from the date the denial order or a notice of entry of the
denial order is served by the superior court clerk or a party. (Cal. Rules of
Court, rule 8.108(b)(1)(A), (d)(1)(A).) Second, if there is no service of either
the denial order or notice of its entry, then the time to appeal is 180 days
                                        16
      As noted, defendants filed and served their notice of motion for new
trial and notice of motion JNOV on January 3, 2023. Plaintiffs argued the
clerk’s December 15 service of the conformed copy of the judgment met the
requirements of section 659, subdivision (a)(2), thus triggering the
requirement that defendants file and serve their notices of posttrial motions
within 15 days. According to plaintiffs’ argument, because defendants’
notices were not filed and served by December 30, they were untimely and
therefore ineffective to extend the time to appeal.
      The reason we rejected this argument and denied plaintiffs’ motion for
dismissal is that the clerk’s December 15 service did not, in fact, meet the
requirements of section 659, subdivision (a)(2). Under this statute, the 15-
day period in which to file a notice of intent to bring a new trial motion is
triggered when the clerk mails notice of entry of judgment “pursuant to
[s]ection 664.5.” Relevant here, section 664.5, subdivision (d) provides:
“Upon order of the court in any action or special proceeding, the clerk shall
serve notice of entry of any judgment or ruling, whether or not appealable.”
(Italics added.) The words “[u]pon order of the court” have been interpreted
by the California Supreme Court to impose stringent requirements. “[T]o
qualify as a notice of entry of judgment under . . . section 664.5, the clerk’s
mailed notice must affirmatively state that it was given ‘upon order by the
court’ or ‘under section 664.5,’ and a certificate of mailing the notice must be


after entry of judgment. (Cal. Rules of Court, rule 8.108(b)(1)(C), (d)(1)(C).)
Third, if such motions are denied by operation of law (that is, by the court’s
failure to decide them within 75 days of service of a filed-endorsed copy of the
judgment) (§ 660, subd. (c)), then a 30-day extension of the deadline to file a
notice of appeal applies from the date of the deemed denial (Cal. Rules of
Court, rule 8.108(b)(1)(B), (d)(1)(B)). There is no dispute defendants’
February 27, 2023 notice of appeal fell within all three of these possible
extended deadlines.

                                        17
executed and placed in the file.” (Van Beurden Ins. Services, Inc. v.
Customized Worldwide Weather Ins. Agency, Inc. (1997) 15 Cal.4th 51, 64
(Van Beurden).)
      Here, the clerk’s December 15, 2022 notice did not affirmatively state
that it was given “upon order by the court” or “under section 664.5.” Instead,
the clerk merely certified that a “true copy of the JUDGMENT UPON
STATEMENT OF DECISION was mailed following standard court practices
in a sealed envelope.” Under Van Beurden, this notice was insufficient to
qualify as a notice of entry of judgment under section 664.5. (Van Beurden,
supra, 15 Cal.4th at p. 64.)
      Although plaintiffs argued Van Beurden was abrogated by Palmer v.
GTE California, Inc. (2003) 30 Cal.4th 1265, they were incorrect. To the
contrary, Palmer expressly approved of the rule in Van Beurden that “to be
service pursuant to [s]ection 664.5 (§§ 659, 660), the notice of entry of
judgment mailed by the clerk must affirmatively state it is given upon order
by the court or under section 664.5.” (Palmer, at p. 1277 [cleaned up]; see
Simgel Co., Inc. v. Jaguar Land Rover North America, LLC (2020) 55
Cal.App.5th 305, 314 [noting the Van Beurden “principle is recited again in
Palmer” and “means a clerk’s notice of entry of judgment must state, in so
many words, that it is given ‘upon order of the court’ or ‘under section 664.5’
in order to trigger the time to file a [post-trial motion]”].) Palmer did not
involve a court clerk mailing the judgment to the parties, as occurred here,
but instead addressed the requirements that apply when one of the parties
mails notice of entry of the judgment to the other party’s attorney. (Palmer,
at pp. 1268, 1270; see id. at p. 1278 [“an opinion is not authority for a
proposition not therein considered” (cleaned up)].)




                                       18
      Therefore, the 15-day notice period for filing and service of defendants’
notices of posttrial motions did not begin to run on December 15, 2022.
Instead, it commenced on January 9, 2023, when plaintiffs served written
notice of entry of judgment. (See § 659, subd. (a)(2) [“service upon [the
movant] by any party of written notice of entry of judgment” triggers 15-day
period for filing and service of notice of intention to move for new trial].) At
that time, defendants had already filed and served notice of their posttrial
motions on January 3, which was within 15 days of the January 9 notice.
(See ibid.) Their notices of posttrial motions were therefore timely. This was
our rationale for denying plaintiffs’ motion to dismiss. To the extent
plaintiffs reassert the same arguments in their respondents’ brief, we reject
them once again for the reasons just explained.
B.    Plaintiffs’ New Challenges to the Timeliness of Defendants’ Notice of
      Appeal Lack Merit
      We reject plaintiffs’ two new positions that defendants’ notice of appeal
was untimely, too.
      First, plaintiffs observe the notice of appeal identifies as among the
appealed orders the trial court’s November 8, 2022 orders granting plaintiffs’
motion for attorney fees and denying defendants’ motion for attorney fees and
motion to tax costs. Plaintiffs challenge our jurisdiction to review these
orders. They argue “[t]here is no appellate jurisdiction” under section 904.1,
subdivision (a)(2), over prejudgment orders relating to attorney fees and
costs. Alternatively, they contend the notice of appeal of the orders was
untimely because it was not filed within 60 days of November 8.
      Plaintiffs’ arguments are underdeveloped and ultimately immaterial.
As to their first argument, although the orders denying defendants’ attorney
fees and granting plaintiffs’ costs and fees were decided prejudgment, the
subsequent judgment expressly included the plaintiffs’ awards of attorney

                                       19
fees and costs, as well as the denial of all monetary relief to the defendants.
Plaintiffs fail to explain why the attorney fee and cost orders, if not
independently appealable, are not appealable as a component of the one final
judgment. (§ 904.1, subd. (a)(1).) Further, if not appealable as a component
of the judgment, they are necessarily appealable as collateral orders directing
the payment of money. (Id., subd. (a)(2); Hanna v. Mercedes-Benz USA
(2019) 36 Cal.App.5th 493, 506.)
      As to plaintiffs’ second argument, they fail to establish a timeliness
problem. The shortened 60-day appeal period under rule 8.104(a)(1)(A) of the
California Rules of Court does not apply unless the court clerk serves a
“ ‘Notice of Entry’ ” of the appealable order or a “filed-endorsed” copy of the
appealable order, showing the date either was served. The record does not
reflect that the minute order relating to the trial court’s award of attorney
fees was served on the parties by a deputy court clerk. Although the minute
order denying defendants’ motion to tax costs and awarding plaintiffs their
costs was served on the parties by a deputy court clerk, there was no notice of
entry and the minute order was not “filed-endorsed.” (See Cal. Rules of
Court, rule 8.104(a)(1)(A).) Nor does the record reveal that any party served
notice of entry of the orders. (See id., rule 8.104(a)(1)(B).) Accordingly,
plaintiffs’ contention that a 60-day appeal period (rather than the default
180-day period) is applicable to the attorney fee and costs orders lacks merit.
The notice of appeal was filed and served within 180 days of entry of the fee
and cost orders. (See id., rule 8.104(c) [“What constitutes entry” (boldface
omitted)].)
      Third, even if we were to assume the orders should have been appealed
within 60 days of November 8, 2022, the jurisdictional consequence of this
assumption would ultimately be irrelevant. Although defendants’ notice of


                                       20
appeal encompassed the fee and cost orders, in their merits briefs they have
not raised arguments attacking them. It is therefore immaterial whether we
have jurisdiction to review the orders, because they have not been directly
challenged. They will fall automatically as a consequence of our reversal of
the judgment. (See Purdy v. Johnson (1929) 100 Cal.App. 416, 420 (Purdy)
[after reversal of a judgment, “the matter of trial costs [is] set at large”];
accord Allen v. Smith (2002) 94 Cal.App.4th 1270, 1284 (Allen) [an award of
prevailing party attorney fees does not stand even if not separately appealed;
it “ ‘falls with a reversal of the judgment on which it is based’ ”].)
      The other new issue raised by plaintiffs also relates to defendants’
notice of appeal. Plaintiffs observe the notice identifies as among the
appealed orders the trial court’s orders denying defendants’ motion for new
trial and JNOV motion. Under rule 8.108(d)(1) of the California Rules of
Court, the time to appeal the judgment is extended “[i]f any party serves and
files a valid motion for judgment notwithstanding the verdict.” (Italics
added.) “As used in these provisions, the word ‘valid’ means only that the
motion . . . or notice complies with all procedural requirements; it does not
mean that the motion . . . or notice must also be substantively meritorious.”
(Advisory Committee com. to Cal. Rules of Court, rule 8.108.) Plaintiffs
argue defendants’ JNOV motion was not a “valid” motion extending the time
to appeal under rule 8.108(d)(1) because “[v]alidity for a motion for judgment
notwithstanding the verdict required a verdict” and “[t]here was no verdict.”
      We reject the argument for the following reasons. First, it is
underdeveloped. Plaintiffs merely assert: “Validity for a motion for
judgment notwithstanding the verdict required a verdict. There was no
verdict.” This is their entire argument. They fail to support their
perfunctory assertions with citation to legal authority. We are not required


                                        21
to develop plaintiffs’ points for them. Instead, we treat their contention as
forfeited. (See Arega v. Bay Area Rapid Transit Dist. (2022) 83 Cal.App.5th
308, 318 [rejecting respondent’s challenge to the validity of a posttrial motion
as insufficiently developed]; In re Marriage of Falcone &amp; Fyke (2008) 164
Cal.App.4th 814, 830.)
         Second, even if we were to find it meritorious, plaintiffs’ argument
would not establish that defendants’ notice of appeal was untimely. The
JNOV motion and new trial motion (and notices thereof) were served, filed,
and denied contemporaneously. As we have discussed, defendants’ notice of
new trial motion was timely filed and served, and its procedural validity is
otherwise unchallenged. The filing and service of this notice was effective to
extend the notice of appeal deadline on its own. (Cal. Rules of Court, rule
8.108(b)(1)(A).) For this reason, even if we were to decide that defendants’
JNOV motion was mislabeled and for that reason invalid, this would not lead
us to conclude their notice of appeal was untimely. Next, we turn to
defendants’ substantial evidence challenges to the trial court’s findings
holding them liable for negligence and granting plaintiffs rescission of the
lease.
                                         II.
 Substantial Evidence Does Not Support the Trial Court’s Findings Holding
    Defendants Liable for Negligence and Granting Rescission of the Lease
         The following principles guide our review. “The statement of decision
provides the trial court’s reasoning on disputed issues and is our touchstone
to determine whether or not the trial court’s decision is supported by the facts
and the law.” (Slavin v. Borinstein (1994) 25 Cal.App.4th 713, 718.) We
review the trial court’s decisions of law de novo. (Gajanan Inc. v. City and
County of San Francisco (2022) 77 Cal.App.5th 780, 791–792.) “We apply a


                                         22
substantial evidence standard of review to the trial court’s findings of fact.”
(Thompson v. Asimos (2016) 6 Cal.App.5th 970, 981 (Thompson).) “Under
this deferential standard of review, findings of fact are liberally construed to
support the judgment and we consider the evidence in the light most
favorable to the prevailing party, drawing all reasonable inferences in
support of the findings.” (Ibid.)
      Under the doctrine of implied findings, “ ‘the reviewing court must
infer, following a bench trial, that the trial court impliedly made every
factual finding necessary to support its decision.’ ” (Thompson, supra, 6
Cal.App.5th at p. 981.) However, “we cannot infer findings in support of the
judgment from speculation or possibilities, but may only infer findings that
result by necessary implication from the express findings that are made.”
(Millbrae Asso. for Residential Survival v. Millbrae (1968) 262 Cal.App.2d
222, 238.) “ ‘[A] finding should not be presumed or implied where the record
discloses that the trial court expressly declined to make it.’ ” (Wise v. Clapper
(1968) 257 Cal.App.2d 770, 776, accord Reid v. Moskovitz (1989) 208
Cal.App.3d 29, 32 (Reid).)
A.    The Negligence Claim
      Defendants contend substantial evidence does not support the trial
court’s finding that they were liable for negligence. They specifically contend
expert testimony on medical causation was required, and that plaintiffs failed
to produce competent expert testimony supporting a link between the state of
the HVAC system servicing the EDS suite and the symptoms experienced by
EDS employees, including Leon. We agree.
      Plaintiffs’ negligence claim sought damages based on Leon’s alleged
injuries from “[t]he ongoing failure of the HVAC and ventilation system.”
Proximate cause is an essential element of negligence. (Leyva v. Garcia


                                       23
(2018) 20 Cal.App.5th 1095, 1103 (Leyva).) “[F]or a plaintiff to satisfy the
causation element of a negligence cause of action, he or she must show the
defendant’s act or omission was a substantial factor in bringing about the
plaintiff’s harm. . . . ‘In other words, [the] plaintiff must show some
substantial link or nexus between omission and injury.’ ” (Id. at p. 1104,
citation omitted.) Although the trial court appeared to rely on an unalleged
premises liability theory to hold defendants negligent, the causation
requirement is the same. (See id. at p. 1103 [“Both [negligence and premises
liability] are negligence claims.”].)
      Ordinarily, a plaintiff may establish proximate cause without the
testimony of an expert by providing evidence that indicates the defendant’s
conduct was a substantial factor in producing plaintiff’s damages. However,
“[t]he law is well settled that in a personal injury action causation must be
proven within a reasonable medical probability based upon competent expert
testimony. Mere possibility alone is insufficient to establish a prima facie
case. That there is a distinction between a reasonable medical ‘probability’
and a medical ‘possibility’ needs little discussion. There can be many possible
‘causes,’ indeed, an infinite number of circumstances which can produce an
injury or disease. A possible cause only becomes ‘probable’ when, in the
absence of other reasonable causal explanations, it becomes more likely than
not that the injury was a result of its action. This is the outer limit of
inference upon which an issue may be submitted to the jury.” (Jones v. Ortho
Pharmaceutical Corp. (1985) 163 Cal.App.3d 396, 402–403.) “ ‘The fact that a
determination of causation is difficult to establish cannot . . . provide a
plaintiff with an excuse to dispense with the introduction of some reasonably
reliable evidence proving this essential element of his case.’ ” (Leslie G. v.
Perry &amp; Associates (1996) 43 Cal.App.4th 472, 487 (Leslie G.).) Expert


                                        24
testimony “ ‘can enable a plaintiff’s action to go to the jury only if it
establishes a reasonably probable causal connection between an act and a
present injury.’ ” (Ibid.)
      Proof of causation requires expert testimony where the complexity of
the causation issue is beyond common experience. That is the case here. The
source of contaminants in a building, and their capacity to cause medical
symptoms, are issues outside common knowledge; thus they require expert
testimony. (See Beebe v. Wonderful Pistachios &amp; Almonds LLC (2023) 92
Cal.App.5th 351, 370 (Beebe) [expert testimony on causation required in a
case of alleged toxic exposure]; Miranda v. Bomel Construction Co., Inc.
(2010) 187 Cal.App.4th 1326, 1336–1337 (Miranda) [expert testimony
required to establish plaintiff contracted infectious fungal disease as the
result of exposure to fungal spores in defendant’s uncovered dirt pile];
Webster v. Claremont Yoga (2018) 26 Cal.App.5th 284, 290 (Webster) [expert
testimony required to create triable issue of fact whether plaintiff’s
orthopedic injuries were caused by yoga instructor’s adjustment of her
posture during a class]; Garbell v. Conejo Hardwoods, Inc. (2011) 193
Cal.App.4th 1563, 1569 [causation of residential fire was not a matter of
common knowledge and required expert testimony].)
      Here, plaintiffs presented only two expert witnesses—Dr. Mercer and
Dr. Pleskow—to establish the etiology of Leon’s symptoms. Mercer’s objective
testing (lung auscultation and oxygen saturation rate) failed to substantiate
Leon’s claim he was experiencing congestion and breathing difficulties.
Although Mercer detected fine rashes at one visit, he was unable to
determine their cause. He had no opinion whether there was an air
contaminant in the EDS suite. His testimony did not assist plaintiffs.




                                         25
      Dr. Pleskow, who saw Leon in 2021, almost two years after the fact (at
a time when Leon’s symptoms had already resolved), determined he was
allergic to dust mites. Based on this, and on the oral history provided by
Leon that “an industrial hygienist had come to inspect his . . . office, and a
contaminated and leaking HVAC was found,” that Leon experienced
“blistering of the skin . . . until September or October of 2019” and
“congestion in his chest and sinuses . . . until December of 2019,” and that
Leon “was better away from the office,” Pleskow formed a “suspicion that
dust mites were the problem.” He agreed, however, the complaints Leon
voiced to him “could have a number of causes.” He was not asked to identify
the other causes. Asked to provide his opinion on medical causation within a
reasonable degree of medical probability, he testified: “My opinion is that
[Leon] was sick from exposure to something in that environment.” (Italics
added.) But he conceded he did not know “what, if anything, was going on in
that environment.”
      Defendants argue, and we agree, Dr. Pleskow’s causation opinion—that
Leon’s symptoms were caused by “something in that environment”—was
conclusory and relied on unproven facts, and therefore did not constitute
substantial evidence supporting the judgment. “[E]ven when [a] witness
qualifies as an expert, he or she does not possess a carte blanche to express
any opinion within the area of expertise. For example, an expert’s opinion
based on assumptions of fact without evidentiary support, or on speculative
or conjectural factors, has no evidentiary value and may be excluded from
evidence. Similarly, when an expert’s opinion is purely conclusory because
unaccompanied by a reasoned explanation connecting the factual predicates
to the ultimate conclusion, that opinion has no evidentiary value because an
expert opinion is worth no more than the reasons upon which it rests.”


                                       26
(Jennings v. Palomar Pomerado Health Systems, Inc. (2003) 114 Cal.App.4th
1108, 1117 (Jennings), cleaned up [upholding exclusion of conclusory expert
testimony].) Expert testimony that is unsupported or overly conclusory
under Jennings does not constitute substantial evidence sufficient to uphold
a judgment. (See e.g., People v. Prunty (2015) 62 Cal.4th 59, 85 (Prunty)
[citing Jennings; holding that conclusory expert testimony was “essentially of
no use to the fact finder” and did not constitute substantial evidence in
support the verdict]; Robinson v. Superior Court (2023) 88 Cal.App.5th 1144,
1170 (Robinson) [citing Jennings; holding expert opinion did not constitute
substantial evidence where no facts in the record supported it].)
      In Jennings, a medical expert testified about the cause of a
postoperative infection developed by the plaintiff. The issue was whether the
infection was caused by a retractor (a surgical device used to harness the
bowels and keep them out of the operating field) negligently left in the
plaintiff’s abdominal cavity after the surgery. (Jennings, supra, 114
Cal.App.4th at pp. 1112–1113, 1114–1115.) Although the expert opined the
retractor was a cause-in-fact of the infection, his “articulated explanation of
the etiology of the infection . . . was conclusory.” (Id. at p. 1115.) “His
explanation was, in essence, that because the retractor was left in place and
was probably contaminated, and a nearby area later became infected, ‘[i]t just
sort of makes sense. We have that ribbon retractor and [it’s] contaminated,
he’s infected.’ ” (Ibid.) The trial court excluded the expert’s testimony, and
this court affirmed. We held that to the extent the expert testified the
retractor “could have provided a nidus for bacteria to grow inside [the
plaintiff’s] peritoneal cavity” if a constellation of events had coalesced, the
testimony was “not helpful to the jury” absent additional evidence that it was
more likely than not bacteria around the retractor migrated to and were a


                                        27
cause-in-fact of the infection. (Id. at p. 1119.) We further held that to the
extent the expert testified bacteria growing around the retractor were a
cause-in-fact of the infection, his opinion was “too conclusory to support a jury
verdict on causation” because it was “unaccompanied by any reasoned
explanation supporting his opinion.” (Id. at p. 1120.)
      Here, much as in Jennings, Dr. Pleskow’s causation opinion was
speculative and unsupported by evidence in the record as well as conclusory
and lacking in a reasoned explanation. First, Pleskow’s opinion was without
evidentiary support to the extent it relied on Leon’s assertion that an
industrial hygienist had determined the HVAC unit to be leaking and
contaminated; this assertion was unsupported (and indeed, was contradicted)
by the evidence in the record. Second, it was conclusory and devoid of a
reasoned explanation that would assist the trier of fact. His reasoning was
essentially that because Leon reported his symptoms were worse when he
was at the office, “something” in the office must be causing them. This logic
is no different from the reasoning a lay person might employ. It did not tend
to illuminate for the fact finder what the causal mechanism might be from a
medical standpoint nor did it provide assistance in identifying the potential
causes within the office environment. “[A]n expert’s conclusory opinion that
something did occur, when unaccompanied by a reasoned explanation
illuminating how the expert employed his or her superior knowledge and
training to connect the facts with the ultimate conclusion, does not assist the
jury.” (Jennings, supra, 114 Cal.App.4th at p. 1117.)
      For these reasons, we agree with defendants Dr. Pleskow’s opinion
“[Leon] was sick from exposure to something in that environment” is
insufficient to support a finding that defendants’ actions or omissions were a
cause of Leon’s symptoms. (Prunty, supra, 62 Cal.4th at pp. 84–85; Robinson,


                                       28
supra, 88 Cal.App.5th at p. 1170.) Because competent expert testimony
regarding the medical cause of Leon’s injuries was required in order to hold
defendants liable for negligence (Miranda, supra, 187 Cal.App.4th at
p. 1336), and Pleskow was the only medical expert to offer testimony in
plaintiffs’ favor on that topic, the court’s finding that defendants were liable
for negligence must be reversed.
      In their respondents’ brief, plaintiffs do not address Jennings nor do
they dispute defendants’ contention that Dr. Pleskow’s causation opinion does
not constitute substantial evidence supporting the judgment. Instead, they
quote the portion of the statement of decision in which the trial court found
their witnesses “to be credible regarding their complaints of symptoms” and
went on to state: It was “more likely than not some type of contaminant
within the leased premises caused their symptoms to occur. While Plaintiffs
have not shown what specific contaminant was present, such does not preclude
a finding that the unknown contaminant caused the symptoms about which
the complainants testified.” (Italics added.) The court cited in support of this
conclusion the expert testimony that “the HVAC unit . . . was not clean and
had been poorly maintained” and a significant amount of dust “had
accumulated on the desktops and exposed carpet in the office in the summer
of 2019.” Plaintiffs assert the court believed their witnesses, and thus
implicitly argue the trial court’s decision on liability was a credibility finding
we may not reweigh.
      We are not persuaded by this assertion, and with plaintiffs’ reliance on
the statement of decision, for several reasons. First, the issue raised by
defendants does not relate to credibility. As we have explained, plaintiffs
were required to prove causation “ ‘within a reasonable medical probability
based upon competent expert testimony.’ ” (Miranda, supra, 187 Cal.App.4th


                                        29at p. 1336, italics added.) The deficiencies in Dr. Pleskow’s causation opinion
under Jennings go to the evidentiary value of his testimony, not his
credibility as a witness.
      Second, to the extent the trial court found plaintiffs’ other witnesses
aside from Dr. Pleskow to be credible, their testimony was not capable of
establishing medical causation. In a case of alleged toxic exposure,
“ ‘plaintiffs must establish, to a reasonable medical probability, their
illnesses were caused by the toxic exposure.’ ” (Beebe, supra, 92 Cal.App.5th
at p. 370.) “ ‘Expert testimony is . . . required on the issue of causation if the
matter is so beyond lay experience that it can be explained only through
experts.’ ” (Ibid.; see Cottle v. Superior Court (1992) 3 Cal.App.4th 1367,
1384 [“ ‘The law is well settled that in a personal injury action
causation must be proven within a reasonable medical probability based upon
competent expert testimony.’ ”]; Whiteley v. Philip Morris, Inc. (2004) 117
Cal.App.4th 635, 701 [“In toxic tort cases generally, ‘plaintiffs must establish,
to a reasonable medical probability, their illnesses were caused by the toxic
exposure.’ ”].) Lay witnesses, and experts in non-medical fields, lack medical
expertise necessary to establish the etiology of symptoms caused by
contaminant exposure to a reasonable degree of medical probability. (Beebe,
supra, 92 Cal.App.5th at p. 370; Miranda, supra, 187 Cal.App.4th at
pp. 1336–1337; see Webster, supra, 26 Cal.App.5th at p. 290.) “In California,
causation must be founded upon expert testimony and cannot be inferred
from the jury's consideration of the totality of the circumstances unless those
circumstances include the requisite expert testimony on causation.” (Cottle,
at p. 1385.)
      Third, we disagree with the trial court’s conclusion that plaintiffs’
failure to show “what specific contaminant was present” did not “preclude a


                                        30
finding that the unknown contaminant caused the symptoms about which the
complainants testified.” (Italics added.) “ ‘The law is well settled that in a
personal injury action causation must be proven within a reasonable medical
probability based upon competent expert testimony.’ ” (Miranda, supra, 187
Cal.App.4th at p. 1336.) “ ‘A mere possibility of . . . causation is not enough.’ ”
(Saelzler v. Advanced Group 400 (2001) 25 Cal.4th 763, 775–776 (Saelzler).)
Notably, the trial court’s finding that plaintiffs failed to show “what specific
contaminant was present” and that the contaminant was “unknown” reflects
that it (properly) rejected Dr. Pleskow’s suspicion of dust mites. A suspicion
is equivalent to a mere possibility of causation and was therefore not enough
to prove dust mites were, in fact, the probable cause of Leon’s symptoms. For
purposes of our review, we are required to accept the court’s express finding
the symptoms were caused by an “unknown contaminant” (or in Pleskow’s
words, “something in that environment”) and may not infer a finding the
causal agent was specifically established. (See Reid, supra, 208 Cal.App.3d
at p. 32 [appellate court will not infer an implied finding was made by trial
court where the record shows the trial court expressly declined to make it];
Matson v. Jones (1969) 272 Cal.App.2d 826, 832 [“ ‘A reviewing court will not
disturb the implied findings made by a trial court in support of a judgment
any more than it will interfere with express findings on which a final
judgment is predicated.’ ”].)
      The difficulty with the trial court’s reasoning—that it could find
causation even as the injury-causing substance remained “unknown”—is that
it inherently rests on speculation. “Although proof of causation may be by
direct or circumstantial evidence, it must be by ‘substantial’ evidence, and
evidence ‘which leaves the determination of these essential facts in the realm
of mere speculation and conjecture is insufficient.’ ” (Leslie G., supra, 43


                                        31
Cal.App.4th at p. 484.) For defendants to be held liable for injuring Leon,
plaintiffs needed to show the symptoms “were caused by the act of the
defendant or by an instrumentality under the defendant[s’] control.” (Sindell
v. Abbott Laboratories (1980) 26 Cal.3d 588, 597.) Moreover, the symptoms
needed to be causally connected with the defendants’ negligence. (Saelzler,
supra, 25 Cal.4th at p. 773.) Here, the instrumentality impliedly found to be
under defendants’ control was the HVAC system; their alleged negligence
involved the failure to clean or adequately maintain it.
      Plaintiffs therefore needed to establish a causal chain linking Leon’s
symptoms with the state of the HVAC system. However, with the identity of
the injury-causing contaminant unknown (and with the symptoms possessing
“a number of causes”) every causal chain one attempts to construct inevitably
contains an unknown variable. One has to speculate about the causal
pathway, including the substance that may have caused the symptoms, its
characteristics, how it entered the suite, and whether improved maintenance
or cleaning of the HVAC system likely would have prevented exposure.
“Speculation, however, is not evidence.” (Aguilar v. Atlantic Richfield Co.
(2001) 25 Cal.4th 826, 864.) For these reasons, the trial court’s
determination there was a causal connection between Leon’s symptoms, the
“unknown contaminant,” and defendants’ omissions was speculative and
unsupported by substantial evidence.
      Bockrath v. Aldrich Chemical Co. (1999) 21 Cal.4th 71 supports our
conclusion that plaintiffs could not establish the necessary element of
causation without evidence establishing the etiology of Leon’s symptoms, or
the substance that caused them. The plaintiff in Bockrath sued defendant
manufacturers for a variety of torts, including negligence, claiming his cancer
was caused by exposure to chemicals and chemical ingredients with


                                       32
carcinogenic effects. Our high court held that to adequately allege each
defendant’s product was a substantial factor in causing his illness, the
plaintiff was required to expressly allege, among other things, that “he was
exposed to each of the toxic materials claimed to have caused a specific
illness” and “that he suffers from a specific illness, and that each toxin that
entered his body was a substantial factor in bringing about, prolonging, or
aggravating that illness.” (Id. at pp. 79–80, italics added.) Bockrath teaches
us that in a case of alleged health effects from toxic exposure, causation
cannot be established without proof of the identity of the pathogen or the
etiology of the plaintiff’s symptoms.
      Plaintiffs attempt to avoid the deficiency in their showing of causation
by arguing that defendants’ liability was based on “landowner’s liability.”
They cite Alcaraz v. Vece (1997) 14 Cal.4th 1149, 1156 (Alcaraz) for the
propositions that persons must “ ‘maintain land in their possession and
control in a reasonably safe condition’ ” and “[t]his duty to maintain land in
one’s possession in a reasonably safe condition exists even where the
dangerous condition on the land is caused by an instrumentality that the
landowner does not own or control.’ ” But there is a problem with plaintiffs’
reliance on the general duty of care owed by the possessor of property. It was
EDS, as lessee, that was in possession and control of the EDS suite, not the
lessor defendants. As stated in Alcaraz, “The duties owed in connection with
the condition of land are not invariably placed on the person holding title but,
rather, are owed by the person in possession of the land because of the
possessor’s supervisory control over the activities conducted upon, and the
condition of, the land.” (Id. at pp. 1157–1158 [cleaned up]; see Garcia v. Holt
(2015) 242 Cal.App.4th 600, 604 [“Public policy precludes landlord liability
for a dangerous condition on the premises which came into existence after


                                        33
possession has passed to a tenant. . . . This is based on the principle that the
landlord has surrendered possession and control of the land to the tenant and
has no right even to enter without permission.” (Italics added, citation
omitted.).]
      Alcaraz does not help plaintiffs for another reason. There, the plaintiff-
tenant was allegedly injured from stepping into a meter box located on a strip
of land outside the apartment occupied by the plaintiff-tenant, in an area the
landlord-defendants regularly maintained. (Alcaraz, supra, 14 Cal.4th at
pp. 1153–1154.) Our high court found there was an issue of fact whether the
defendants exercised control over the strip of land, precluding entry of
summary judgment in their favor. (Id. at pp. 1152–1153.) No such facts were
shown to exist here that would demonstrate defendants exercised control over
the EDS suite. To the contrary, the evidence was that EDS was in
continuous possession of the suite from February until July 2019.
Accordingly, Alcaraz is inapposite.
      In sum, we conclude plaintiffs failed to prove a causal link between the
state of the HVAC system servicing the EDS suite and the symptoms

described by Leon and EDS employees.11 The trial court’s finding that
defendants were liable for negligence was therefore unsupported by
substantial evidence. Defendants contend this conclusion also necessitates




11    Dr. Pleskow was the only medical expert to opine on the cause of the
reported symptoms, and the trial court’s finding that an “unknown
contaminant caused the symptoms about which the complainants testified”
applies equally to all of the complaining witnesses. Thus, for the same
reason the evidence was insufficient to establish the cause of Leon’s
symptoms, so too was it insufficient to establish the cause of the symptoms of
EDS employees.

                                       34
reversal of the trial court’s decision granting rescission of the lease. As we
explain next, we agree.
B.    Rescission
      Under the circumstances of this case, plaintiffs needed to prove a
causal connection between the symptoms experienced by Leon and others in
the EDS suite and defendants’ inadequate maintenance of the HVAC system
in order to obtain rescission. A party to a contract may rescind the contract
“[i]f the consideration for the obligation of the rescinding party fails, in whole
or in part, through the fault of the party as to whom he rescinds” (Civ. Code,
§ 1689, subd. (b)(2), italics added) or “[i]f the consideration for the obligation
of the rescinding party, before it is rendered to him, fails in a material respect
from any cause” (id., subd. (b)(4), italics added). In granting rescission, the
trial court cited both of these provisions, implying it believed both of them
were satisfied. Defendants argue this was error. We agree.
      As a matter of law, rescission was unavailable under subdivision (b)(4)
of Civil Code section 1689, which applies only when consideration fails “before
it is rendered.” (Italics added.) That did not occur here. A leasehold endures
for the period defined in the lease. (12 Witkin, Summary Cal. Law (11th ed.
2017) § 528, p. 594.) The contractual obligation of the landlord at the
inception of a lease is to deliver possession of the premises to the new tenant.
(See e.g., Cal. Practice Guide: Landlord-Tenant (The Rutter Group 2023),
¶ 2:850, p. 2F-1; Reynolds v. McEwen (1952) 111 Cal.App.2d 540, 542–543;
Cunningham v. Universal Underwriters (2002) 98 Cal.App.4th 1141, 1155–
1156 (Cunningham).) Here, the parties’ lease was for a defined term
beginning February 1, 2019 and ending January 31, 2022. EDS undisputedly
received possession of the leased premises in February 2019 and enjoyed
materially undisturbed possession of the suite for a period of five months,


                                        35
through at least the end of June. Defendants’ consideration under the
lease—delivery of possession of the leased premises to EDS, and EDS’s
undisturbed quiet enjoyment of the suite—therefore did not fail before it was
rendered. (Cf. Civ. Code, § 1689, subd. (b)(4) [rescission available “[i]f the
consideration for the obligation of the rescinding party” fails “from any cause”
“before it is rendered to him”]; see Koenig v. Warner Unified School Dist.
(2019) 41 Cal.App.5th 43, 59–60 [contracting party not entitled to rescission
of a termination agreement under Civ. Code, § 1689, subd. (b)(4) where party
received, under the termination agreement, one year of salary and benefits
payments to which he would not otherwise have been entitled].)
      Rescission was therefore available, if at all, only under subdivision
(b)(2) of Civil Code section 1689, which applies when the consideration owed
to the rescinding party fails “through the fault of the party as to whom he
rescinds.” (Italics added.) This provision requires proof of a material breach
by the non-rescinding party. (Crofoot Lumber, Inc. v. Thompson (1958) 163
Cal.App.2d 324, 332–333; Integrated, Inc. v. Alec Fergusson Electrical
Contractor (1967) 250 Cal.App.2d 287, 295–296; Wyler v. Feuer (1978) 85
Cal.App.3d 392, 403–404 (Wyler).) Here, as a basis for rescission, plaintiffs
asserted, and the trial court found, defendants breached the covenant of quiet
enjoyment, which is both inherent in the parties’ lease (Civ. Code, § 1927)

and included in the lease as an express provision.12 But rescission was also




12    The relevant provisions are as follows: “An agreement to let upon hire
binds the letter to secure to the hirer the quiet possession of the thing hired
during the term of the hiring, against all persons lawfully claiming the
same.” (Civ. Code, § 1927.) Paragraph 38 of the lease, titled “Quiet
Possession,” states: “Subject to payment by Lessee of the Rent and
performance of all of the covenants, conditions, and provisions on Lessee’s
                                       36
not available on this basis because there was insufficient proof of a causal
connection between any action by defendants and the assertedly unfit state of
the EDS suite, a necessary component of a claimed breach of the covenant of
quiet enjoyment.
      Quiet enjoyment “insulates the tenant against any act or omission on
the part of the landlord, or anyone claiming under him, which interferes with
a tenant’s right to use and enjoy the premises for the purposes contemplated
by the tenancy.” (Petroleum Collections Inc. v. Swords (1975) 48 Cal.App.3d
841, 846 (Petroleum Collections).) “[T]he landlord’s failure to fulfill an
obligation to repair or to replace an essential structure or to provide a
necessary service can result in a breach of the covenant if the failure
substantially affects the tenant’s beneficial enjoyment of the premises.”
(Ibid.) “Minor inconveniences and annoyances are not actionable breaches.
Rather, the landlord’s act or omission must be substantial—i.e., so serious as
to render the premises unfit for the purposes contemplated by the lease or
which substantially affect the tenant’s enjoyment of a material part of the
premises.” (Cal. Practice Guide: Landlord Tenant (The Rutter Group 2023)
¶4:8, p. 4-5.)
      A necessary component of a claimed breach of the covenant of quiet
enjoyment is a causal connection between the landlord’s actions or omissions
and the assertedly unfit state of the premises. “ ‘Breach can take many
forms, including actual or constructive eviction.’ ” (Nativi v. Deutsche Bank
National Trust Co. (2014) 223 Cal.App.4th 261, 293 (Nativi).) “[A]n actual
eviction takes place when the tenant is physically dispossessed of the
property; a constructive eviction occurs when the act of molestation merely


part to be observed and performed under this Lease, Lessee shall have quiet
possession and quiet enjoyment of the Premises during the term hereof.”

                                       37
affects the beneficial use of the property, causing the tenant to vacate the
premises.” (Petroleum Collections, supra, 48 Cal.App.3d at p. 847; Lee v.
Placer Title Co. (1994) 28 Cal.App.4th 503, 512 [covenant of quiet enjoyment
“insulates the tenant against any act or omission on the part of the landlord,
or anyone claiming under him, which interferes with a tenant’s right to use
and enjoy the premises for the purposes contemplated by the tenancy”];
Cunningham, supra, 98 Cal.App.4th at p. 1152 [“An eviction is constructive if
the landlord engages in acts that render the premises unfit for occupancy for
the purpose for which it was leased[.]”].) “Except to the extent the parties to
a lease validly agree otherwise, there is a breach of the landlord’s obligations
if, after the tenant’s entry and without fault of the tenant, a change in the
condition of the leased property caused by the landlord’s conduct or failure to
fulfill an obligation to repair . . . makes the leased property unsuitable for the
use contemplated by the parties[.]” (Rest.2d Prop., Landlord &amp; Tenant, § 5.4,
pp. 194–195; see id. com. b, p. 196. [“Affirmative conduct of the landlord that
makes the condition of the leased property unsuitable or the failure of the
landlord to fulfill an obligation to repair thereby making the leased property
unsuitable is sometimes referred to as a constructive eviction by the
landlord[.]”].) “Determining whether there has been a breach of the covenant
of quiet possession generally depends upon the facts in a proper case.”
(Nativi, at p. 293 [cleaned up].)
      In deciding for the plaintiffs, the trial court found in part that
defendants materially breached the covenant of quiet enjoyment and failed to
comply with their duties under the lease by refusing to clean the HVAC
ducts, thereby failing to provide EDS with “usable office space.” As best we
can discern from its discussion in the statement of decision of witness
credibility, quiet enjoyment, and rescission, the court found the office space


                                       38
was rendered not “usable” because defendants’ inadequate maintenance of
the HVAC was causally connected with the adverse health effects
experienced by Leon and EDS staff, requiring them to vacate the office and

work from home.13 This onset of symptoms was the implicit basis for the
court’s conclusion the office space had been rendered not “usable.” The
court’s ruling thus rested on the same faulty causation finding that supported
its erroneous resolution of the negligence claim, namely, that an “unknown
contaminant caused [plaintiffs’] symptoms.” This requires reversal of the
rescission claim, too.
      As discussed, plaintiffs’ only evidence establishing to a reasonable
degree of medical probability the cause of any of the reported symptoms was
the testimony of Dr. Pleskow, whose causation opinion we have already found
insufficient. (Jennings, supra, 114 Cal.App.4th at p. 1117; Robinson, supra,
88 Cal.App.5th at p. 1170; Prunty, supra, 62 Cal.4th at pp. 84–85.) The trial



13    For example, the section of the statement of decision titled
“Rescission” immediately followed the section titled “Witness Credibility,”
in which the trial court found “the unknown contaminant” caused the
symptoms of plaintiffs’ witnesses. And in granting rescission of the lease, the
court observed that “[p]laintiff[s’] witnesses testified that the onset of
symptoms was within one-half hour of exposure.”
      The decision also stated: “Defendants argued that [Leon] sent
threatening texts to Mauzy. Perceived threats did not relieve [d]efendants of
their duty to investigate. . . . Entering EDS’s suite for an hour may have
confirmed or denied [sic] EDS’s complaints, yet Lessors took no such action.”
Assuming this was intended as a finding of breach of a duty to investigate,
we do not interpret it as a finding any such breach was material given the
court’s failure to affirmatively find performance would have confirmed (as
opposed to “denied”) EDS’s claims regarding the source of the contamination.
(See Mora v. Baker Commodities (1989) 210 Cal.App.3d 771, 782 [“the duty to
inspect charges the lessor ‘only with those matters which would have been
disclosed by a reasonable inspection’ ”].)

                                      39
court’s finding that plaintiffs failed to establish anything more than that an
“unknown contaminant” triggered their symptoms is fatal to the conclusion
defendants’ omissions with respect to HVAC maintenance caused the
condition that assertedly rendered the suite unusable. It leaves a necessary
link in the causal chain as an undetermined variable. It is not possible,
without guessing or speculating, to draw an affirmative inference about the
propensities of an unknown substance, including its characteristics, its
capacity to cause particular health symptoms, and whether its presence in
the suite likely would have been eliminated with duct cleaning or improved
HVAC maintenance. (See Leslie G., supra, 43 Cal.App.4th at p. 484
[“Although proof of causation may be by direct or circumstantial evidence, it
must be by ‘substantial’ evidence, and evidence ‘which leaves the
determination of these essential facts in the realm of mere speculation and
conjecture is insufficient.’ ”]; Marshall v. Parkes (1960) 181 Cal.App.2d 650,
655 [where the evidence is such that it is a matter of conjecture whether a
particular deduction is warranted from the facts which are known, there is no
basis for a legally sufficient inference].) Consequently, we conclude there is
insufficient evidence to support the trial court’s decision to grant rescission
on the basis defendants’ omissions with respect to the HVAC system caused
the reported symptoms, thereby rendering EDS’s suite unusable. (See
Nativi, supra, 223 Cal.App.4th at p. 310 [summary adjudication of claim for
breach of covenant of quiet enjoyment properly granted where tenants failed
to provide evidence from which a reasonable trier of fact could infer the
conduct of the landlord was a cause of the situation that kept one of them
from returning to live in the premises].)
      After declaring the lease rescinded, the trial court incongruously
asserted that plaintiffs would remain entitled to rescission “[e]ven if the . . .


                                        40
duct cleaning would not have fixed the [plaintiffs’ health] problems” based on
defendants’ failure “to deliver their consideration, usable office space.” This
finding relied on a legally erroneous understanding of delivery of the leased
premises as occurring mid-lease. It also appeared to rely on a related,
equally erroneous belief rescission from any cause was available under Civil
Code section 1689, subdivision (b)(4). And to the extent the court intended its
finding to justify rescission under Civil Code section 1689, subdivision (b)(2),
that basis also fails because no substantial evidence was presented to show
defendants caused the office space to become unusable by means other than
their omissions with respect to the HVAC system.
         Plaintiffs offer a threefold response to defendants’ insufficiency of the
evidence challenge. First, they argue: “Rescission is proper when the lessor
failed to deliver usable office space.” This confuses the concept of delivery of
the premises with the concept of breach of the lease. As we have explained,
delivery of possession of the premises occurs at the outset of the lease. EDS
undisputedly received possession of the leased premises in February 2019
and enjoyed materially undisturbed possession through the end of June. So
there was no established breach of defendants’ delivery obligation under the
lease.
         Second, plaintiffs deny that defendants’ refusal to clean the HVAC
ducts had anything to do with the trial court’s decision to rescind the lease.
They assert the court’s decision was based on defendants’ simple failure to
“deliver[ ] their consideration, usable office space, after mid-July 2019.” This
ignores that the court found defendants’ refusal to “clean the ducts . . . until
[d]efendants provided medical proof that the office was the cause of their
health problems” constituted the failure to “comply with . . . contractual
duties” that rendered the suite not “usable.” And to the extent plaintiffs are


                                          41
contending the trial court granted rescission regardless of cause, they are
conceding the very point on which defendants seek reversal.
      Third, plaintiffs argue: “[Defendants] failed to present any evidence
that . . . EDS was able to use its office space, which is the only basis that
would justify a reversal of the trial court.” We are not persuaded by this
effort, unaccompanied by any citation to legal authority, to cast the burden of
proof as resting upon defendants. (Atchley v. City of Fresno (1984) 151
Cal.App.3d 635, 647 [when a point is asserted without authority for the
proposition, “it is deemed to be without foundation and requires no discussion
by the reviewing court”].) To obtain rescission, plaintiffs needed to establish
the consideration for the lease failed due to defendants’ fault. (Civ. Code,
§ 1689, subd. (b)(2).) This, in turn, required plaintiffs to present evidence
sufficient to prove defendants committed a material breach of the lease. (See,
e.g., Wyler, supra, 85 Cal.App.3d at pp. 403–404; Richman v. Hartley (2014)
224 Cal.App.4th 1182, 1186 [plaintiff’s burden to prove breach of
agreement].) As we have explained, they failed to do so.
C.    Conclusion
      We conclude there was not substantial evidence to support the trial
court’s determinations that defendants were liable for negligence or that they
materially breached the lease so as to support rescission of the lease under

subdivision (b)(2) of Civil Code section 1689.14 The award to EDS of
$336,355.40 in consequential damages is therefore also unsupported, as the
only basis for this award was that it was justified by rescission of the lease.


14    Our resolution of defendants’ sufficiency of the evidence challenge
makes it unnecessary for us to reach defendants’ remaining challenges to the
propriety of the trial court’s rescission of the lease and award of damages to
EDS.

                                        42
(See Hedging Concepts, Inc. v. First Alliance Mortgage Co. (1996) 41
Cal.App.4th 1410, 1422 [determination that trial court erred in declaring
contract rescinded meant quantum meruit award to rescinding party could
not be supported on the theory it was justified by rescission].) Further
unsupported is the trial court’s award of $50,000 in general damages to Leon
based on defendants’ negligence, as well as its determination that rescission
of the lease mooted the defendants’ cross-claims based on breach of the lease.
      Defendants ask us to reverse the judgment and remand the matter “for
an award of damages on [their] cross-complaint and a determination of the
other appropriate relief to which [they] are entitled based on the parties’
enforceable agreements in the lease.” We agree in part. Defendants have not
challenged the trial court’s decision to grant plaintiffs rescission of the
guaranty of lease, nor have they requested a remand for further proceedings
on the guaranty of lease. Further, the trial court’s decision to grant
rescission of the guaranty of lease appears to have rested in part on
considerations independent of its decision to rescind the lease. As a result,
we will not disturb the trial court’s rescission of the guaranty of lease.
      However, our conclusion above with respect to the insufficiency of the
evidence supports defendants’ request for reversal without retrial. “ ‘[F]or
our justice system to function, it is necessary that litigants assume
responsibility for the complete litigation of their cause during the
proceedings.’ ” (Kelly v. Haag (2006) 145 Cal.App.4th 910, 919.) Plaintiffs
had a full and fair opportunity during the 11-day trial to present evidence
supporting their claims. During trial, defendants brought a dispositive
motion on numerous grounds, including insufficiency of the evidence of
causation, “putting [plaintiffs] on heightened notice of the need to produce
sufficient evidence on its . . . claims.” (Cardinal Health 301, Inc. v. Tyco


                                        43
Electronics Corp. (2008) 169 Cal.App.4th 116, 153.) Further, plaintiffs have
not opposed defendants’ position with respect to the scope of proceedings on
remand nor have they “suggested the existence of any new evidence that
could be presented on retrial.” (Ibid.; see also Wal-Noon Corp. v. Hill (1975)
45 Cal.App.3d 605, 615 [reversing judgment after bench trial without
ordering retrial where “[t]he parties have had their day in court on the
contract” such that “[n]o retrial of the matter is necessary” but instructing
the court to modify its conclusions of law].)
      Accordingly, we will reverse the judgment in part, to the extent the
trial court found defendants liable for negligence; granted plaintiffs rescission
of the lease; awarded damages in the amount of $50,000 to Leon and in the
amount of $336,355.40 to EDS; and dismissed defendants’ cross-claims
against plaintiffs based on breach of the lease. There will be no retrial of
plaintiffs’ causes of action for negligence or rescission of the lease. Instead,
on remand, the negligence finding against defendants as well as the finding
against defendants on rescission of the lease shall be reversed. The trial
court shall conduct further proceedings on defendants’ cross-claims against
plaintiffs based on the lease. At the conclusion of those proceedings,
judgment is to be entered for defendants and against plaintiffs on plaintiffs’
causes of action for negligence, breach of lease, and negligent
misrepresentation; for defendants and against plaintiffs on plaintiffs’ claim
for rescission of the lease; for plaintiffs and against defendants on plaintiffs’
claim for rescission of the guaranty of lease; for plaintiffs and against
defendants on defendants’ cross-claims based on the guaranty of lease; and to
otherwise reflect the outcome of the proceedings on remand.
      The trial court’s orders determining plaintiffs to be the prevailing
parties and awarding them attorney fees and costs necessarily fall with our


                                        44
partial reversal of the judgment and will need to be redetermined at the
conclusion of the proceedings on remand. (Purdy, supra, 100 Cal.App. at
p. 421; Allen, supra, 94 Cal.App.4th at p. 1284.)
                                 DISPOSITION
      The judgment is reversed in part to the extent it encompasses the trial
court’s findings holding defendants liable for negligence; granting plaintiffs
rescission of the lease; awarding damages to Richard Leon and EDS based on
negligence and rescission of the lease; and dismissing defendants’ cross-
claims against plaintiffs based on the lease. On remand, the trial court is
directed to proceed consistently with the instructions in this opinion. The
judgment is otherwise affirmed. Defendants are entitled to their costs on
appeal. (Cal. Rules of Court, rule 8.278(a)(1), (3).)



                                                                          DO, J.

WE CONCUR:



McCONNELL, P. J.



RUBIN, J.




                                        45
